ADAM ORTSEIFEN, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Ortseifen v. CommissionerDocket No. 12900.United States Board of Tax Appeals14 B.T.A. 1403; 1929 BTA LEXIS 2939; January 18, 1929, Promulgated *2939  Deductibility of certain contributions made during 1921 determined.  Walter A. Wade, Esq., for the petitioner.  John J. Greaney, Esq., for the respondent.  TRAMMELL*1403  This proceeding is for the redetermination of a deficiency in income tax of $710.28 for 1921.  The deficiency results from the disallowance by the respondent of certain amounts totaling $3,415, claimed by the petitioner in his return as deductible contributions under section 214(a)(11) of the Revenue Act of 1921.  FINDINGS OF FACT.  The petitioner, who is a citizen of the United States, took a deduction in his income-tax return for 1921 of $4,680, as representing contributions made during that year.  In an audit of the return the respondent disallowed the following contributions: Pastor Brauer $25Mrs. Rothman25Pastor P. J. Weiand2,000Bishop Geo. Hilprich Dondekan500Thomas F. Keeley250Geo. K. Schmidt, Treasr $500John A. McCormick10R.R.F.C. Kelley5Ed. A. Cudahy (for Hoban)100Total3,415The first item in the above list represents a contribution made to a fund for the erection of a church building.  The second item was a*2940  contribution for the use of a German Old Peoples Home located in a suburb of Chicago.  The third item represents a contribution for maintaining and operating on Old People Home and Childrens Home in Montabaur, Germany, where the petitioner was born.  The item "Bishop Geo. Hilprich Dondekan, $500," represents a contribution forwarded by the petitioner to Bishop Dondekan of Limburg, Germany, to be used for such purposes of charity as he (Dondekan) saw fit.  Dondekan was at that time in charge of the distribution of charities among the poor and destitute in his locality for certain societies.  The contribution "Thomas F. Keeley, $250" represents a donation to a society against prohibition.  The item "George K. Schmidt, Treasr., $500" represents a contribution to the Chicago division of The German Child Feeding, a corporation organized for the purpose of soliciting funds to aid in relief of starving and undernourished children of central Europe.  This corporation was a subsidiary *1404  of the American Society of Quakers.  The item "John A. McCormick, $10" represents a contribution to a committee of which McCormick was chairman and which was appointed by Archbishop Mundelein to solicit*2941  funds for church purposes.  The item of "R.R.F.C. Kelley, $5" represents a contribution to the Catholic Church Extension Society.  The last item represents a contribution to an association or society which had for its purpose the providing of homes for working girls.  OPINION.  TRAMMELL: The only issue involved in this proceeding is whether the respondent erred in disallowing the contributions set out in the findings of fact.  With reference to the allowance to individuals of deductions for contributions, the Revenue Act of 1921 provides: SEC. 214. (a) That in computing net income there shall be allowed as deductions: * * * (11) Contributions or gifts made within the taxable year to or for the use of: (A) The United States, and State, Territory or any political subdivision thereof, or the District of Columbia for exclusively public purposes; (B) any corporation, or community chest, fund, or foundation, organized and operated exclusively for religious, charitable, scientific, literary, or educational purposes, including posts of the American Legion or the Women's auxiliary units thereof, or for the prevention of cruelty to children or animals, no part of the net earnings*2942  of which inures to the benefit of any private stockholder or individual; * * *.  The petitioner concedes that the contribution to the society against prohibition is not allowable and consideration of that item therefore becomes unnecessary.  With respect to the contribution forwarded to Bishop Dondekan, the evidence fails to show whether these societies for which Dondekan was acting were within the classes designated by the statute, nor does the evidence show that the contribution was to a community chest, fund or foundation.  In the absence of such evidence, we can not hold that the action of the respondent in disallowing the contribution is erroneous.  With respect to the contribution designated "R.R.F.C. Kelley $5," while it appears that this contribution was made in fact to the Catholic Church Extension Society, there is no evidence as to whether it was a corporation organized exclusively for religious or charitable purposes.  We can not make a determination as to the essential fact from the name of the donee alone, nor can we take judicial notice as to the manner of organization and purpose of an organization, which receives contributions.  *1405  We must therefore*2943  affirm the action of the respondent as to the deduction to Bishop Dondekan, to the society against prohibition, and to R.R.F.C. Kelley.  We are satisfied that the remaining contributions are deductible under the above quoted section of the statute.  Judgment will be entered under Rule 50.